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               Presentation to the SEC
                                             June 8, 2015




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    Agenda
          • Overview of Ligand

          • Emmanuel Lemelson and the Amvona Fund

          • Lemelson’s Manipulation of Ligand Stock

          • Significant Dates

          • Lemelson Is Attacking Again

          • Unanswered Questions



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                         Overview of Ligand




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      Ligand Overview
          • Founded in 1987 in La Jolla, CA, and went public in 1992 (Ticker: LGND)
          • Strong history of drug discovery, development and partnering
          • 14 approved medicines and over 60 potential new drug candidates
          • Turned profitable and cash flow positive in 2013




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          Ligand Restructuring Highlights
               • Prior to 2006, Ligand struggled with bloated costs and poor commercial
                 success

               • Major restructuring occurred from 2006 to 2008
                     – 18 senior executives resigned or were terminated
                     – All but one Board member resigned
                     – Divested commercial assets for $500 million

               • In 2007, the management team and Board were rebuilt to focus on new
                 business model
                     – Early stage research, low costs
                     – Focus on partnering to generate royalty revenue

               • Now have large portfolio of over 120 partnered drug programs

               • 6 acquisitions in last 7 years have added significantly to portfolio


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          Overview of Ligand
          Ligand’s Board of Directors
                           Ligand benefits from a diversified Board of Directors that
                           includes two preeminent pharmaceutical R&D executives

                                John Kozarich, Ph.D.                                      John LaMattina, Ph.D.:
                                (Chairman): Chairman of                                   Former President,
                                ActivX, former Head of                                    Global R&D - Pfizer
                                Research - Merck

               •   Sunil Patel: CFO, OncoMed. Formerly Gilead, Abgenix, McKinsey & Co.
               •   Todd Davis: Founder, Healthcare Royalty Partners. Formerly ELAN, Abbott
               •   David Knott: Chief Investment Officer, Knott Partners
               •   Steve Sabba, MD: Research Analyst , Knott Partners. Formerly Sturzas Medical
                   Research, Kilkenny Capital Management
               •   Jason Aryeh: Partner JALAA Equities, Chairman QLT, Inc.
               •   John Higgins: CEO, Ligand

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          Ligand’s Portfolio Continues to Grow
                    Ligand’s Achievement:                                              Partners’ Achievement:
                      Portfolio Expansion                                       Products Generating Revenue for LGND
                                    120 +
          120                                                                          10


          100                                 Strong record as                          8                    8      Partners are
                                              drug researcher,                                                      successful in getting
          80                                  innovator and                                                         new products to the
                                              licensor                                  6                           market
          60
                                                                                        4
          40

                                                                                        2
          20
                          9                                                                        1

               0                                                                        0
                        2008        2015                                                        2008        2015
                   Fully-Funded Programs (“Shots-on-Goal”)                                  Commercial Products Generating Revenue
                                                                                                          for Ligand

      7
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          Diverse Portfolio Among Drug Companies

                Select Big Pharma

                                                                                         Select Generic
                                                            Big Pharma
                                                                29%
                                                                           Spec Pharma
                                                                               10%

                                                                               Generic
                                                                                18%
                                                       Biotech
                                                                                         Select Spec Pharma
                Select Biotech                           44%




                                                Over 70 Different Partners
      8
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      Ligand Receives Revenue From 8 Products
               Product                   Partner                     Therapy Areas
                                                                            ITP
                                         Novartis                       Hepatitis C
                                                                      Aplastic Anemia   • In addition to recurring
                                                                         Multiple
                                                                                          commercial revenue, in
                                          Amgen                          Myeloma          2014 Ligand received
                                                                        Emergency         payments from over
                                          Baxter                      Heart Medicine      100 companies for
                                                                                          license fees and
                                          Merck                          Infection
                                                                                          Captisol
                                                                         Women’s
                                           Pfizer
                                                                          Health

                                           Pfizer                          Pain


                                           Pfizer                        Infection

                                                                         Women’s
                                           Pfizer
                                                                          Health




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      Ligand Annual Revenue Growth
                                 $70
                                                                  $64.5

                                 $60



                                 $50
                                                       $49.0


                                 $40                                            License Fees
                    $ millions



                                                                                Captisol
                                       $30.0 $31.4                              Royalties
                                 $30



                                 $20



                                 $10



                                  $0
                                       2011   2012         2013   2014



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      Ligand Operating Costs
                            $80                                      Restructuring Period.
                                                                    Elimination of costs not
                            $70
                                                                         adding value
                            $60


                            $50
               $ millions




                            $40                                                                              Flat expenses and
                                                                                                              cost control over
                            $30
                                                                                                               past four years
                            $20


                            $10


                             $0
                                  2006   2007      2008      2009      2010      2011   2012   2013   2014

                                   Combined Actual R&D and G&A Cash Expense

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      Revenue Growth and Flat Costs have Resulted in
      Increasing Cash Flow Generated by the Business
                            $70


                            $60


                            $50
               $ millions




                            $40


                            $30                                                                  Revenue

                                                                                                 Cash Operating Expense
                            $20


                            $10


                             $0
                                   2011         2012            2013          2014



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      Ligand Recognized for its Achievements
        • CEO nominated as one of 5 nominees for 2013 CEO-of-the-Year based on
          “smart deal-making, a growing portfolio and a bean counter’s obsession with
          frugal spending”

        • Chairman named as one of Six Directors of the Year for 2014 by Corporate
          Directors Forum

        • Named Forbes “43 Best Investment Ideas for 2014”

        • Recognized in August 2014 as one of Fortune 100 fastest growing companies
          coming in at 13th on the list based on three year profit, revenue and stock
          growth




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                     Emmanuel Lemelson,
               Lemelson Capital Management, and
                       the Amvona Fund



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      Emmanuel Lemelson
      Personal Background
               •   Born Gregory Lemelson in Arizona
               •   Earned a B.A. in Theology and Religious Studies and a Master of Divinity from
                   universities in Washington state
               •   From 1999 to 2010, ran an e-commerce website selling photography equipment
                   (Amvona.com)
               •   In 2011, ordained as a Greek Orthodox priest
               •   Since 2013, assigned to a diocese in Switzerland

      Lemelson Capital Management LLC (“LCM”)
               •   In September 2012, he launched LCM (registered in Massachusetts)
               •   LCM is sole sponsor and general partner of The Amvona Fund, L.P.
               •   No formal investment education, training or experience
               •   Claims financial analyses are “done in [his] head” - 9/16/2014 PreMarket Prep interview
               •   Champions himself as an activist investor
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      Amvona Fund
                                                                           Year              Fund Size
           Lemelson claims fund began in:                                 2012              $2.7 Million

           Sept. 16, 2014: claims fund increased                          2014             $18.9 Million
           “seven-fold” since 2012 inception

           Sept. 16, 2014: he projected 24-fold                           2016          $400 to $500 Million
           increase in his fund during next 2 years



                  “I'm sure there's, you know, more than 100 investors who've expressed
               interest recently and it looks like, you know, in the next 24 months from now,
                     perhaps we could get to 400 or 500 million or something like that.”
                                                          - Emmanuel Lemelson (September 16, 2014)


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      Lemelson’s Self-Reported Outperformance Claims
       • “[T]hird time in eight months that Barron’s monthly performance rankings . . .
         included The Amvona Fund among the world’s top performers.” – 5/27/14 LCM Press Release
               – No historical record available
               – Performance ranking derived from un-audited self reporting


       • “From inception in September 2012 through May 2014 (21 months) - The Amvona
         Fund, LP has returned a Compounded Annual Gain of 85.15% (58.51% net) and
         an Overall Gain of 193.65% (123.90% net).” – 6/4/14 LCM Press Release
               – Over the same period the indexes returned the following gains:
                     • Dow:           27.7%
                     • S&P 500:       36.8%
                     • Nasdaq:        38.3%


       • Amvona “returned a compound annual gain of 81.9% (56.5% net) and overall gain of
         284.1% (173.8% net) from Sept 1, 2012 inception through Nov 30, 2014. Consistently
         Ranked in top 1% of peer group by Morningstar. Ranked as top or among top hedge
         funds globally by Preqin, BarclayHedge and Wall Street Journal.” – LCM Website

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      Self-Promotional Multi-Level Media Campaign
        •      Lemelson disseminates his research and links to media reports about him through Amvona’s
               website, which was “originally built as a hybrid e-commerce and social networking platform to
               sell photo accessories,” as well as through an author page on SeekingAlpha.com
        •      He also appears to maintain a Wikipedia site about himself
        •      Lemelson uses Facebook and at least three Twitter accounts to create digital traffic and visibility
                                    Uses Amvona Fund Twitter Account to retweet messages
                                    from both his own (@Lemelson) and Lemelson Capital accounts




                                   Tweets relating to religious commentary and
                                   current events, mixed with stock performance
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      Lemelson’s Manipulation of Ligand Stock




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      Ligand
        •      There is a statistical correlation between LGND and the NYSE Arca Biotechnology Index (BTK
               Index) and the peer group of 13 biotechnology companies (EW Peer Index) that Ligand lists in its
               proxy statement
        •      The chart below shows LGND’s strong performance relative to those two benchmarks from June
               13, 2013 to June 13, 2014
                                  $80

                                  $75

                                  $70

                                  $65
                 Relative Price




                                  $60

                                  $55

                                  $50

                                  $45

                                  $40

                                  $35

                                  $30




                                                                        LGND        BTK    EW Peer


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      LGND Price Drops Significantly
        •      LGND began a downward slide on June 16, 2014, from which it did not begin to recover until
               October 9, 2014, at which point it had lost 37% in share price and $500m in market cap
                                  $90

                                  $85

                                  $80

                                  $75
                 Relative Price




                                  $70

                                  $65

                                  $60

                                  $55

                                  $50

                                  $45

                                  $40




                                                                    LGND            BTK   EW Peer


        •      This occurred during a strong growth period for Ligand in which there were no market- or
               industry-wide developments to explain steep decline

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      What Happened?
           • Out of nowhere, on June 16, 2014, Lemelson Capital Management released
             a 25-page report saying he was shorting stock and purporting that:

                –   The company was a going concern risk
                –   The value of LGND was $0

           • Throughout Summer and Autumn of 2014, Lemelson continued to issue
             reports and press releases, as well as give media interviews, in which he
             spread abject falsehoods about the Company

           • Lemelson disclosed on November 18 that he had closed out the bulk of his
             short position at $43, the price at which LGND traded between October 7
             and October 13




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        Lemelson Attack Timeframe
           $70
                                           6/16/2014:
                                      Lemelson begins attack                                                                  3/05/2015:
                                                                                                                   First time since 6/16/2014 that
                                                                       Attack Period                                 LGND closed above $67.26.                      ②
           $65
                                                      - Multiple reports and interviews that were
                                                        repeated in various media outlets
                                                      - Numerous false and misleading statements by
                                                        Lemelson about Ligand’s solvency, products, and
           $60
                                                        management



           $55




           $50

                                                                                        ①

           $45
                                                                                                       The Cover
                                                                                       - Majority of short position covered
                                                                                       - Lemelson claimed a 40% gain in
                                                                                         about three and a half months
           $40
                                   07/14             08/14         09/14            10/14             11/14          12/14            01/15            02/15
                                                                                            LGND-US
               Note: Market data as of 06-Mar-2015                                                                                                   Source: FactSet Prices

                 ① Stock begins to recover immediately after Lemelson covers his position

                 ② Stock fully recovers in March 2015


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      Lemelson and Experts Agree on His Impact
        • Lemelson takes credit on website, Wikipedia,
          and elsewhere for influencing LGND’s price
        • Analysts have attributed LGND’s decline to
          Lemelson’s statements
        • Ligand has fielded calls, emails and in-person
          comments from current shareholders and
          business partners relating to the false
          statements




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                              Significant Dates




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      Periods of Lemelson’s Significant Impact

           Period One: June 16 to June 24, 2014

           Period Two: July 13 to July 17, 2014

           Period Three: August 7, 2014

           Period Four: August 22 to August 25, 2014


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      PERIOD ONE
      Monday, June 16 to Tuesday, June 24, 2014

        • 7 trading days bookended by:
               — June 16: Release of Lemelson Capital Management’s first written report on Ligand
               — June 24: Lemelson’s press release and news reports reiterating analysis in first
                 report

        • No other negative news about Ligand during this time
               — June 13: Ligand partner announces results of Phase 3 study of (Promacta™) in
                 pediatric patients with chronic immune thrombocytopenia
               — June 16: Ligand announces successful first-in-human trial results for glucagon
                 program
               — June 23: Ligand announces positive data from Phase 1 study on the effect of
                 lasofoxifene to increase testosterone levels
               — June 24: Ligand signs agreement with TG Therapeutics for IRAK-4 program


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      Monday, June 16, 2014
      Overview
      • Lemelson Capital Management published report on Ligand: “Severe Competitive
        Threat To Key Royalty Program And 'Going Concern' Risk Drive 100 Percent
        Downside”
      • Released at 2:22pm Eastern
      • Available on Lemelson’s website and social media accounts. Also published on
        SeekingAlpha.com and promoted through press release.
               — Seeking Alpha article emailed to over 475,000 people
      • Media outlets ran with the story that same afternoon:
               — USA Today: “Money manager betting against biotech firm Ligand Pharmaceuticals”
                    • “Shares of Ligand were trading up 2% to $68.10 before news of Lemelson’s short
                      stake. Ligand closed off 2.8% to $64.89.”
               — Valuewalk.com: “Lemelson: Ligand Pharmaceuticals (LGND) – ‘No Intrinsic Value’”
               — Benzinga.com: “Shares of Ligand Pharma Tick Lower Following Word from Lemelson
                 Capital Fund Has Initiated Short Position in Stock”
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      Monday, June 16, 2014
      Lemelson’s False & Misleading Statements
      Key Product
      • Lemelson: “Gilead’s revolutionary Sovaldi drug,” for the treatment of Hepatitis C,
        “will virtually eliminate demand for Promacta”; the Company “now appears set
        to lose its largest royalty generating program.”
      • Truth: Sovaldi does not replace Promacta, which functions as a supportive care
        product used with other drugs to treat Hepatitis C. In addition, Promacta is used
        to treat ailments other than Hep C, the vast majority of use is for ITP (not Hep C)
        and important other new indications in development.
      Assets
      • Lemelson: Intangible assets are “padding the balance sheet to disguise just how
        precarious the Company’s financial situation continues to be.” “In 2013, despite
        increased sales of $9.7 million, the Company’s net cash position actually
        decreased by $743,000 to just $11.6 million.”
      • Truth: Like many biotech firms, intangible assets are the core of Ligand’s business
        and are properly reportable under GAAP as part of net equity.
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      Monday, June 16, 2014
      Lemelson’s False & Misleading Statements
       Solvency
           • Lemelson: “With no tangible assets to buttress the shares, any minor distress
             that prevented the company from issuing more stock or debt, would easily
             drive the Company into liquidation.” Ligand is a “going concern risk.”

           • Truth: Ligand was clearly solvent. Cash from operations in 2013 increased by
             $20 million and was used to retire a $20 million debt. Ligand’s auditor, Grant
             Thornton, has never issued a going concern. Ligand is sustainably profitable
             and cash-flow positive.

       Value:
           • Lemelson: “Ligand’s fair value is roughly $0 per share”
           • Truth: A $0 price target is patently baseless



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      Monday, June 16, 2014
      Lemelson’s False & Misleading Statements
       Management

           • Lemelson: “Management has repeatedly made material misrepresentations
             about the Company’s diversification and risk exposure” and does so to
             “artificially drive[]” stock higher so “management and insiders can sell stock.”

           • Truth: Management has not made material misrepresentations. Circularly,
             Lemelson points to company disclosures to suggest that management is
             misleading investors.




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      Thursday, June 19, 2014
      Overview
        • Lemelson gave first interview about Ligand

        • PreMarket Prep, a daily, 8:00am Eastern radio show on Benzinga.com

        • Posted to Benzinga’s YouTube account that same day, as well as linked through
          Lemelson’s Facebook and Twitter accounts

        • The host and Lemelson reveled in the impact of the report on LGND
               — Host: “Well, you made another big call this week and it made quite a big splash. . .
                 I mean, you just rocked this stock here.”
               — Lemelson: “I have no idea these things are going to happen or not. But the thing
                 with Ligand short is that [LGND] lost about 11% in just a matter of hours.”

        • Lemelson posted the YouTube link on his website and boasted:
               — “Shares of LGND dropped as much as 2% during the [20-minute] interview”


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      Thursday, June 19, 2014
      Lemelson’s False & Misleading Statements

        Management
           • Lemelson: “The management team certainly have stewardship
             over investor’s capital. And the point is not just to get return on
             capital, but first and foremost to return capital. Ligand has
             never done that.”

           • Truth: Since 2007, Ligand had returned approximately $300
             million to shareholders in the form of dividends and share
             repurchases.




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      Thursday, June 19, 2014
      Lemelson’s False & Misleading Statements
       Key Product
       •             Lemelson: “I had discussions with management just yesterday – excuse me – their IR firm. And they
                     basically agreed. They said, ‘Look, we understand Promacta’s going away.’”
       •             Truth: Ligand’s IR firm DID NOT tell Lemelson that Promacta revenue was going away, nor would it
                     have reason to:
                              Lemelson said “Promacta’s
                              going away” following this
                                quarter’s sales report                      ROW       • Consistent annual revenue growth globally
                    $100.0
                                                                            EU          since Promacta launched
                                                                            US
                                                                                      • Q2 ’14 revenues grew 31% over Q2 ’13
                     $80.0
                                                                                      • All 3 commercial regions were growing
       $ millions




                     $60.0


                     $40.0


                     $20.0


                      $0.0
                             Q1 Q2Q3Q4Q1 Q2Q3Q4Q1 Q2Q3Q4Q1 Q2Q3Q4
                             2011      2012       2013         2014
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      Tuesday, June 24, 2014
      Overview
        • Lemelson issued press release restating his claims and
          highlighting decline in LGND price since report’s release

        • Picked up by media outlets, including Valuewalk.com (tweets out
          story at 3:39pm Eastern): “Lemelson Capital Reaffirms Research
          Report and Price Target for Ligand Pharmaceuticals”

        • Lemelson linked to story on his Facebook and Twitter accounts




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Confidential                                Confidential Treatment Requested by        LGND_0080772
                                               Ligand Pharmaceuticals, Inc.
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      Tuesday, June 24, 2014
      Lemelson’s False & Misleading Statements
           Key Product

           • Lemelson: “[T]he Company faces it[s] biggest existential threat in what is likely
             to be a momentous impairment of its largest royalty generating asset,
             Promacta.”
           • Truth: Sovaldi does not replace Promacta, which functions as a supportive care
             product used with other drugs to treat Hepatitis C. In addition, Promacta is
             used to treat ailments other than Hep C, the vast majority of use is for ITP (not
             Hep C) and important other new indications in development.
           Solvency

           • Lemelson: “In light of the extraordinary risks associated with Ligand as a going
             concern . . . Lemelson Capital believes that Ligand’s fair value is roughly $0 per
             share.”

           • Truth: As shown on earlier slides, Ligand had strong revenue growth, flat costs,
             and increasing cash flow. No basis for $0 valuation.
      36
                               FOIA CONFIDENTIAL TREATMENT REQUESTED
Confidential                                      Confidential Treatment Requested by        LGND_0080773
                                                     Ligand Pharmaceuticals, Inc.
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      June 16 to June 24, 2014
      Impact on LGND
                   Date             Prior Day Close                  Close        % Change

                  6/16/14                  $66.75                   $64.89         - 2.8%

                  6/17/14                  $64.89                   $63.76         - 1.7%

                  6/18/14                  $63.76                   $65.63         + 2.9%

                  6/19/14                  $65.63                   $65.70         - 0.1%

                  6/20/14                  $65.70                   $66.27         - 0.9%

                  6/23/14                  $66.27                   $62.35        - 6.0% (*)

                  6/24/14                  $62.35                   $60.67         - 2.7%


               LGND declined over 9% over seven trading days

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Confidential                                Confidential Treatment Requested by                LGND_0080774
                                               Ligand Pharmaceuticals, Inc.
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      June 16 to June 24, 2014
      Impact on LGND
       4.00%

                                                      2.13%
       2.00%


       0.00%
                                                                                            -0.01%
                                                                         -0.37%
      -2.00%
                                  -1.81%                                                                                   -1.92%

      -4.00%                                                                                      -4.13%
                                                         -3.75%
                -4.06%                                                     -4.12%

      -6.00%                           -5.88%
                                                                                                            -5.65%

      -8.00%

                                                                                                                 -9.78%
     -10.00%


     -12.00%                                                                                                                    -11.69%


     -14.00%
                                                                 t-stat = -1.61
     -16.00%


     -18.00%
               06/16/2014       06/17/2014          06/18/2014          06/19/2014         06/20/2014      06/23/2014     06/24/2014
                                                   Excess Returns         Cumulative Excess Returns


      38
                                FOIA CONFIDENTIAL TREATMENT REQUESTED
Confidential                                         Confidential Treatment Requested by                                         LGND_0080775
                                                        Ligand Pharmaceuticals, Inc.
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      PERIOD TWO
      Sunday, July 13 to Thursday, July 17, 2014
        • 4 trading days bookended by:
               — July 13: Weekend release of Lemelson statement touting the success of his hedge
                 fund based on LGND short
               — July 17: Lemelson reissues press release through social media and it is picked up
                 by media
        • No other negative news about Ligand during this time
               — July 14: Ligand Chairman Dr. John Kozarich named director of the year honoree
                 by Corporate Directors Forum
               — July 16: Pfizer-Ligand estrogen drug Duavee expected to receive July approval
                 opinion from the European Union
               — July 17: Ligand announces 2Q results beat estimate; announces share buy back
                 program



      39
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Confidential                                      Confidential Treatment Requested by         LGND_0080776
                                                     Ligand Pharmaceuticals, Inc.
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       Sunday, July 13, 2014
       Overview

        • Lemelson published statement on his website touting the success
          of the Amvona Fund. Among the claims:
               — Beat S&P 500 by 408% for trailing 12 months
               — Returned 29.03% in Q2 ‘14, beating S&P 500 by 733%
               — World’s 2nd best-performing hedge fund according to Barron’s
               — Credited success partly to “significant short position” in LGND

        • Released at 5:23pm Eastern




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                                                   Ligand Pharmaceuticals, Inc.
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       Sunday, July 13, 2014
       Lemelson’s False & Misleading Statements
        Solvency
           • Lemelson: “The recent short position in Ligand Pharmaceuticals, which is based on
             extensive research that affirms the company is radically insolvent, has contributed to
             the fund’s recent outperformance.”
           • Truth: As shown on earlier slides, Ligand had strong revenue growth, flat costs, and
             increasing cash flow. Ligand was not insolvent, let alone “radically insolvent.”
        Key Products
           • Lemelson: With respect to the purported “extensive research,” Lemelson had
             published and publicized another report on July 3, 2014, in which he reaffirmed the
             falsehoods in his first report, said that he had increased his short position, and then
             claimed that Idiopathic Thrombocytopenia (“ITP”), “which has been mentioned as an
             alternative application” for Promacta outside of Hepatitis C “does not have significant
             commercial viability.”
           • Truth: Promacta is marketed in 95 countries and ITP accounts for an estimated 90% of
             Promacta’s current global sales.

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Confidential                                     Confidential Treatment Requested by          LGND_0080778
                                                    Ligand Pharmaceuticals, Inc.
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      Thursday, July 17, 2014
      Overview
        • Lemelson promoted through his social media accounts and PR
          Newswire the statement about the success of The Amvona Fund

        • The PR Newswire release issued at 10:55am Eastern

        • Media reports picked up the story that same day:

               — Valuewalk.com
               — Reuters.com
               — Marketwatch.com




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                                                  Ligand Pharmaceuticals, Inc.
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      Sunday, July 13 to Thursday, July 17, 2014
      Impact on LGND
                   Date               Prior Day Close                 Close       % Change

                  7/14/14                    $63.70                  $59.56       - 6.5% (*)

                  7/15/14                    $59.56                  $56.85        - 4.6%

                  7/16/14                    $56.85                  $53.04       - 6.7% (*)

                  7/17/14                    $53.04                  $50.66        - 4.5%


               LGND declined over 20% over four trading days




      43
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Confidential                                Confidential Treatment Requested by                LGND_0080780
                                               Ligand Pharmaceuticals, Inc.
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      Sunday, July 13 to Thursday, July 17, 2014
      Impact on LGND
        4.00%


        2.00%


        0.00%


        -2.00%                                         -1.19%
                                                                                                      -1.91%

        -4.00%


        -6.00%                                                                        -5.59%

        -8.00%
                  -8.43%
                                                            -9.63%
       -10.00%


       -12.00%


       -14.00%
                                                                                           -15.21%
       -16.00%                                              t-stat = -3.12 (*)                             -17.12%

       -18.00%
                 07/14/2014                           07/15/2014                    07/16/2014       07/17/2014

                                                  Excess Returns      Cumulative Excess Returns

      44
                              FOIA CONFIDENTIAL TREATMENT REQUESTED
Confidential                                       Confidential Treatment Requested by                            LGND_0080781
                                                      Ligand Pharmaceuticals, Inc.
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      PERIOD THREE
      Thursday, August 7, 2014
      Overview
        • Lemelson gave an interview about Ligand to Benzinga.com


        • Posted to Benzinga’s website at 1:57pm Eastern, and linked to through
          Lemelson’s Facebook and Twitter accounts


        • No other negative news about Ligand the day prior or that day




      45
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Confidential                                Confidential Treatment Requested by        LGND_0080782
                                               Ligand Pharmaceuticals, Inc.
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      Thursday, August 7, 2014
      Lemelson’s False & Misleading Statements
       Earnings
       • Lemelson: Ligand’s use of Non-GAAP metrics in its Q2 ‘14 earning press
         release was “a pyramid scheme of words. . . . Management seems to
         have become more concerned with convincing people of the value of
         their reasoning, which is highly biased toward driving their share price
         higher than expressing the unbiased facts. Yet, they present their data
         as if it were neutral and broadly-accepted.”




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Confidential                                Confidential Treatment Requested by        LGND_0080783
                                               Ligand Pharmaceuticals, Inc.
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      Thursday, August 7, 2014
      Lemelson’s False & Misleading Statements
       Earnings
       • Truth:
               – Ligand presents both GAAP and Non-GAAP net income and EPS, with three non-
                 cash, Non-GAAP adjustments:
                   •   Stock-based Compensation
                   •   Changes in Valuation of Contingent Value Rights
                   •   Mark-to-market for Investments Owed to Licensors
                        – These last two components are non-cash charges that come from increases or
                          decreases in the accounting estimate of the fair value of future payments and value
                          of publicly traded securities

               – Ligand, like the majority of profitable companies in the biotech industry, excludes
                 stock-based compensation from Non-GAAP financials because it is non-cash and
                 based on Black-Scholes Valuation, which requires many market-based inputs




      47
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Confidential                                       Confidential Treatment Requested by                LGND_0080784
                                                      Ligand Pharmaceuticals, Inc.
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      Thursday, August 7, 2014
      Impact on LGND



               Date                Prior Day Close                 Close           % Change

               8/7/14                     $53.07                  $50.34           - 5.1% (*)



                                           t-stat = -2.06 (*)




      48
                        FOIA CONFIDENTIAL TREATMENT REQUESTED
Confidential                                 Confidential Treatment Requested by                LGND_0080785
                                                Ligand Pharmaceuticals, Inc.
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      PERIOD FOUR
      Friday, August 22 to August 25, 2014
      Overview
       • On Friday, August 22, 2014, Lemelson Capital Management published on
         SeekingAlpha.com a report on Ligand: “Institutional Holders Wasting No Time
         Dumping Stock In Response To Mounting Insolvency And Bankruptcy Risks”

       • Report released at 3:15pm Eastern, and then he put it on his website, and
         promoted it through his social media accounts, after market close

       • Media outlets reported the story the next day, Saturday, August 23rd

       • While the market was open on Monday, August 25th, Lemelson issued a press
         release through PR News Wire touting his report

       • No other negative news about Ligand during this period



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Confidential                                 Confidential Treatment Requested by        LGND_0080786
                                                Ligand Pharmaceuticals, Inc.
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      Friday, August 22 to Monday, August 25, 2014
      Overview
       • Convertible note summary

               — $245m convertible note financing in August 2014

               — 3 weeks of intensive underwriter due diligence and no problems found

               — Notes due August 2019 and principal is to be repaid in cash

               — Authorized up to $200m stock repurchase, including $38m (~680k shares)
                 completed with offering; to date repurchased $68m

               — Call spread purchased for $36m, raising conversion price to $125.08 per share
                 (125% premium over closing price)

       • Unrelated to the convertible note, BioTech Value Fund, Inc. (BVF) sold shares

               — On August 21st BVF filed 13G/A making public it had divested 1,217,561 shares

               — Reduced holdings from 12.9% to 6.8%.

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                                                    Ligand Pharmaceuticals, Inc.
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      Friday, August 22 to Monday, August 25, 2014
      Lemelson’s False & Misleading Statements
      Shareholder Equity
      • Lemelson: If call is exercised, “as is possible and even likely, common
        shareholders would be wiped out immediately.”
      • Truth: Stockholders would not be “wiped out” if call exercised
        — Principal repayment is in cash - no dilution to common stockholders
      • Truth: Call is not “likely”
         — Creditors may not call in cash repayment before the end of the note’s term
            except under certain unusual circumstances
      Solvency
      • Lemelson: “Ligand shareholders have only the protection of $21,000 in tangible
        equity to shield them from $245 million in debt” and this “give[s] rise to a debt
        to tangible equity ratio of 11,667-to-1”
      • Truth: This purported “11,667-to-1” ratio is concocted and ignores all the cash
        proceeds from the debt itself
      51
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Confidential                                 Confidential Treatment Requested by        LGND_0080788
                                                Ligand Pharmaceuticals, Inc.
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      Friday, August 22 to Monday, August 25, 2014
      Lemelson’s False & Misleading Statements
      Solvency

      • Lemelson: “[L]arge institutional shareholders, likely fearing imminent
        substantial downward corrections in stock and possible bankruptcy, are moving
        to sell in non-open market transactions at extraordinary cost to remaining
        shareholders. . . . There is no question that [note offering] further deepens the
        company’s insolvency and likelihood of liquidation or reorganization under
        Chapter 7 or Chapter 11 of the bankruptcy code.”

      • Truth: No factual basis to claim BVF sold its shares, and other institutional
        investors would follow, because of belief Ligand was purportedly “insolvent.”
        Convertible note offering only further improved Ligand’s cash position and
        reflected its strong growth. Timing of sale disclosure completely coincided with
        offerings. Ligand did not purchase BVF’s holdings or even have discussions with
        BVF.

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Confidential                                 Confidential Treatment Requested by        LGND_0080789
                                                Ligand Pharmaceuticals, Inc.
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      Friday, August 22 to Monday, August 25, 2014
      Impact on LGND

                Date              Prior Day Close                 Close           % Change

               8/22/14                   $51.75                  $51.24            - 1.0%

               8/25/14                   $51.24                  $49.85           - 2.7% (*)


                                      LGND declined 3.7%




      53
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                                               Ligand Pharmaceuticals, Inc.
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      Friday, August 22 to Monday, August 25, 2014
      Impact on LGND
           0.04


           0.02


               0


           -0.02
                                                       -2.21%
           -0.04


           -0.06
                                                                             -5.68%

           -0.08                                                                  -7.89%


            -0.1


           -0.12


           -0.14


           -0.16                                  t-stat = -2.03 (*)
           -0.18
                                                     08/22/2014             08/25/2014

                                           Excess Returns         Cumulative Excess Returns


      54
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Confidential                                Confidential Treatment Requested by               LGND_0080791
                                               Ligand Pharmaceuticals, Inc.
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      Summary of Lemelson’s Impact During Four Periods
                                                                                        Prior Closing   Closing     %
               Period           Lemelson’s Key False Statements
                                                                                            Price        Price    Change

                        •   Promacta going away
       June 16, 2014    •   Intangible assets worthless
             to         •   Management misrepresents performance                           $66.75       $60.67    - 9.1%
       June 24, 2014    •   Going concern risk
                        •   LGND value is $0

                        •   Promacta not commercially viable for ITP
        July 13, 2014
                        •   Radically insolvent
              to                                                                           $63.70       $50.66    - 20.4%
                        •   The Amvona Fund in Q2 ‘14 beat S&P by
        July 17, 2014
                            733% due in part to significant LGND short

                        •   Management uses Non-GAAP earnings to
      August 7, 2014                                                                       $53.07       $50.34    - 5.1%
                            deceive investors
                        •   Convertible note will wipe out
      August 22, 2014       shareholders
            to        •     Institutional investors selling due to                         $51.75       $49.85    - 3.7%
      August 25, 2014       bankruptcy fears
                      •     Insolvent and likely to file for bankruptcy

                                            LGND declined 25.3%
      55
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Confidential                                      Confidential Treatment Requested by                             LGND_0080792
                                                     Ligand Pharmaceuticals, Inc.
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      Summary of Excess Returns During Four Periods
      20.00%
                 June 16           June 24                        July 13                       Aug 4          Aug 13           Aug 22
                1st Report      Press Release                 Website Post re                 3rd Report      2nd Audio       5th Report
      10.00%                    re 1st Report                  Fund Returns                                   Interview



       0.00%



      -10.00%
                                                                                                   Aug 7          Aug 14
                  June 19                  July 3                                                 1st Print      4th Report     Aug 25
                 1st Audio               2nd Report                                              Interview                       Press
      -20.00%    Interview                                                                                                    Release re
                                                                                                                              5th Report

                                                                 July 17
      -30.00%
                                                            Press Release re
                                                             Fund Returns

      -40.00%



      -50.00%




                                                      Excess Returns            Cumulative Excess Returns

                                                      Excess return = -45.3%
                                                         t-stat = -2.33 (*)
      56
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Confidential                                          Confidential Treatment Requested by                                       LGND_0080793
                                                         Ligand Pharmaceuticals, Inc.
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               Lemelson Is Attacking Again




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                                           Ligand Pharmaceuticals, Inc.
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      Road to Recovery
           • The day Lemelson first attacked Ligand, June 16, 2014, LGND opened at $67.26
           • It did not close above that price again until March 5, 2015
           • The chart below shows LGND’s performance relative to the two benchmarks from
             November 18, 2014, when Lemelson announced he had covered the bulk of his short
             position, to the Present
           • Lemelson repeated his cover announcement in March 2015, shortly before LGND
             upticked and fully recovered to its pre-Lemelson attack price
                                          $90
                                          $85
                                          $80
                  Wealth Relative Price




                                          $75
                                          $70
                                          $65
                                          $60
                                          $55
                                          $50
                                          $45
                                          $40




                                                                             LGND           BTK   EW Peer
      58
                                                    FOIA CONFIDENTIAL TREATMENT REQUESTED
Confidential                                                             Confidential Treatment Requested by        LGND_0080795
                                                                            Ligand Pharmaceuticals, Inc.
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       Lemelson Is Attacking LGND Again
        • Three interviews on PreMarket Prep in which Lemelson repeated
          falsehoods and said he is shorting LGND again

        • March 24, 2015: “If you invested anything more than a $1, like you’d
          put in a lottery ticket . . . you might have an unhappy outcome with
          Ligand”

               — March 24 and 25: LGND down both days, 6.5% total loss

        • April 27, 2015: “In our opinion it looks like more like an operation
          designed to transfer equity from common shareholders to
          management through stock awards”

               — April 27 and April 28: LGND down both days, 9.2% total loss



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                                                  Ligand Pharmaceuticals, Inc.
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       Lemelson Is Attacking LGND Again
           • June 5, 2015: Ligand has “created almost a veritable like pyramid scheme of
             shell companies. . . . And they are not building a real product or a real
             business.” “Our average short price is $89 per share.”
           • Same morning, Benzinga.com tweets out to its 43,300 followers


           • Yesterday Benzinga, and today Lemelson on SeekingAlpha, published articles
             about the interview




           • SeekingAlpha article emailed to 473,028 people
           • Nothing has changed to legitimize Lemelson’s claims
           • In order to prevent further harm to investors, Ligand respectfully requests the
             SEC to initiate an investigation into Lemelson
      60
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Confidential                                    Confidential Treatment Requested by        LGND_0080797
                                                   Ligand Pharmaceuticals, Inc.
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                   Unanswered Questions




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                                           Ligand Pharmaceuticals, Inc.
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      What We Don’t Know
       • When did Lemelson short LGND and how large were his positions?
       • How did Lemelson conduct his short trades? E.g., did he naked
         short? Fail to deliver shares at settlement?
       • Was Lemelson using other methods of communication, such as
         email, to spread his falsehoods and misrepresentations?
       • How large is the Amvona Fund and what was its performance
         since inception and during the time Lemelson was short LGND?
       • What do Lemelson’s internal communications show with respect
         to his knowledge of the falsity of his statements?
       • Why did Lemelson choose Ligand to attack and was he working
         with others to artificially drive down the price?
       • What is Lemelson’s relationship with Benzinga?
      62
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Confidential                               Confidential Treatment Requested by        LGND_0080799
                                              Ligand Pharmaceuticals, Inc.
